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UNITED STATES DISTRICT COURT
CENTRAL DISTRICT OF CALIFORNIA

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Plaintiff
The United States District Court

COMPLAINT FOR CLAIM RELIEF DUE TO:
DONALD J. TRUMP and
1. SEXUAL ABUSE UNDER THREAT OF HARM
JEFFREY E. EPSTEIN .
2. CONSPIRACY TO DEPRIVE CIVIL RIGHTS

Defendant(s).

Plaintiff Katie Johnson, for causes of actions against Defendants Donald J. Trump and
Jeffrey E. Epstein, alleges as follows:
JURISDICTION

1. Jurisdiction is pursuant to the law of Diversity, 28 U.S.C. ; 1332, as plaintiff resides in the state
of California while defendants reside in the state of New York and the action is for damages above
$75,000.

VENUE
2. The venue is established as the Eastern Division of the United States Court Central District

of California because the plaintiff resides in San Bernadino County, State of California

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PARTIES

3. The Plaintiff, Katie Johnson, resides in the State of California.

4, The Defendants, Donald J. Trump and Jeffrey E. Epstein, each reside in the State of
New York.

FACTUAL ALLEGATIONS

5. The Plaintiff, Katie Johnson, alleges that the Defendants, Donald J. Trump and Jeffrey E.
Epstein, did willfully and with extreme malice violate her Civil Rights under 18 U.S.C. ; 2241 by
sexually and physically abusing Plaintiff Johnson by forcing her to engage in various perverted and
depraved sex acts by threatening physical harm to Plaintiff Johnson and also her family.

6. The Plaintiff, Katie Johnson, alleges that the Defendants, Donald J. Trump and Jeffrey E.
Epstein, also did willfully and with extreme malice violate her Civil Rights under 42 U.S.C. ; 1985 by
conspiring to deny Plaintiff Johnson her Civil Rights by making her their sex slave.

7. The Plaintiff, Katie Johnson, alleges she was subject to extreme sexual and physical abuse by
the Defendants, Donald J. Trump and Jeffrey E. Epstein, including forcible rape during a four
month time span covering the months of June-September 1994 when Plaintiff Johnson was still only
a minor of age 13.

8. The Plaintiff, Katie Johnson, alleges she was enticed by promises of money and a modeling
career to attend a series of underage sex parties held at the New York City residence of Defendant
Jeffrey E. Epstein and attended by Defendant Donald J. Trump.

9. On the first occasion involving the Defendant, Donald J. Trump, the Plaintiff, Katie Johnson,
was forced to manually stimulate Defendant Trump with the use of her hand upon Defendant
Trump's erect penis until he reached sexual orgasm.

10. On the second occasion involving the Defendant, Donald J. Trump, the Plaintiff, Katie
Johnson, was forced to orally copulate Defendant Trump by placing her mouth upon Defendant

Trump's erect penis until he reached sexual orgasm.

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11. On the third occasion involving the Defendant, Donald J. Trump, the Plaintiff, Katie Johnson
was forced to engage in an unnatural lesbian sex act with her fellow minor and sex slave, Maria Doe
age 12, for the sexual enjoyment of Defendant Trump. After this sex act, both minors were forced
to orally copulate Defendant Trump by placing their mouths simultaneously on his erect penis until
he achieved sexual orgasm. After zipping up his pants, Defendant Trump physically pushed both
minors away while angrily berating them for the "poor" quality of their sexual performance.

12. On the fourth and final sexual encounter with the Defendant, Donald J. Trump, the Plaintiff,
Katie Johnson, was tied to a bed by Defendant Trump who then proceeded to forcibly rape Plaintiff
Johnson. During the course of this savage sexual attack, Plaintiff Johnson loudly pleaded with
Defendant Trump to "please wear a condom". Defendant Trump responded by violently striking
Plaintiff Johnson in the face with his open hand and screaming that "he would do whatever he
wanted" as he refused to wear protection. After achieving sexual orgasm, the Defendant, Donald J.
Trump put his suit back on and when the Plaintiff, Katie Johnson, in tears asked Defendant Trump
what would happen if he had impregnated her, Defendant Trump grabbed his wallet and threw
some money at her and screamed that she should use the money “to get a fucking abortion".

13. On the first occasion involving the Defendant, Jeffrey E. Epstein, the Plaintiff, Katie Johnson,
was forced to disrobe into her bra and panties and to give a full body massage to Defendant Epstein
while he was completely naked. During the massage, Defendant Epstein physically forced Plaintiff
Johnson to touch his erect penis with her bare hands and to clean up his ejaculated semen after he
achieved sexual orgasm.

14. On the second occasion involving the Defendant, Jeffrey Epstein, the Plaintiff, Katie Johnson
was again forced to disrobe into her bra and panties while giving Defendant Epstein a full body
massage while he was completely naked. The Defendant, Donald J. Trump, was also present as he
was getting his own massage from another minor, Jane Doe, age 13, Defendant Epstein forced
Plaintiff Johnson to touch his erect penis by physically placing her bare hands upon his sex organ

and again forced Plaintiff Johnson to clean up his ejaculated semen after he achieved sexual orgasm.

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15. Shortly after this sexual assault by the Defendant, Jeffrey E. Epstein, on the Plaintiff, Katie
Johnson, Plaintiff Johnson was still present while the two Defendants were arguing over who would
be the one to take Plaintiff Johnson's virginity. The Defendant, Donald J. Trump, was clearly heard
referring to Defendant, Jeffrey E. Epstein, as a "Jew Bastard" as he yelled at Defendant Epstein, that
clearly, he, Defendant Trump, should be the lucky one to "pop the cherry" of Plaintiff Johnson.

16. The third and final sexual assault by the Defendant, Jeffrey E. Epstein, on the Plaintiff, Katie
Johnson, took place after Plaintiff Johnson had been brutally and savagely raped by Defendant
Trump. While receiving another full body massage from Plaintiff Johnson, while in the nude,
Defendant Epstein became so enraged after finding out that Defendant Trump had been the one to
take Plaintiff Johnson's virginity, that Defendant Epstein also violently raped Plaintiff Johnson.
After forcing Plaintiff Johnson to disrobe into her bra and panties, while receiving a massage from
the Plaintiff, Defendant Epstein attempted to enter Plaintiff Johnson's anal cavity with his erect
penis while trying to restrain her. Plaintiff Johnson attempted to push Defendant Epstein away, at
which time Defendant Epstein attempted to enter Plaintiff Johnson's vagina with his erect penis.
This attempt to brutally sodomize and rape Plaintiff Johnson by Defendant Epstein was finally
repelled by Plaintiff Johnson but not before Defendant Epstein was able to achieve sexual orgasm.
After perversely sodomizing and raping the Plaintiff, Katie Johnson, the Defendant, Jeffrey E.
Epstein, attempted to strike her about the head with his closed fists while he angrily screamed at
Plaintiff Johnson that he, Defendant Epstein, should have been the one who "took her cherry, not
Mr. Trump", before she finally managed to break away from Defendant Epstein.

17. The Plaintiff, Katie Johnson, was fully warned on more than one occasion by both
Defendants, Donald J. Trump and Jeffrey E. Epstein, that were she ever to reveal any of the details
of the sexual and physical abuse that she had suffered as a sex slave for Defendant Trump and
Defendant Epstein, that Plaintiff Johnson and her family would be in mortal danger. Plaintiff
Johnson was warned that this would mean certain death for herself and Plaintiff Johnson's family
unless she remained silent forever on the exact details of the depraved and perverted sexual and
physical abuse she had been forced to endure from the Defendants.

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MATERIAL WITNESSES

18. Tiffany Doe, a former trusted employee of the Defendant, Jeffrey E. Epstein, has agreed to
provide sworn testimony in this civil case and any other future civil or criminal proceedings, fully
verifying the authenticity of the claims of the Plaintiff, Katie Johnson. Witness Tiffany Doe was
employed by the Defendant, Jeffrey E. Epstein, for more than 10 years as a party planner for his
underage sex parties. Despite being subject to constant terroristic threats by Defendants Epstein
and Trump to never reveal the details of these underage sex parties at which scores of teenagers,
and pre-teen girls were used as sex slaves by Defendant Epstein and Defendant Trump, witness
Tiffany Doe refuses to be silent any longer. She has agreed to fully reveal the extent of the sexual
perversion and physical cruelty that she personally witnessed at these parties by Defendants Epstein
and Trump.

19. Material witness Tiffany Doe fully confirms all of Plaintiff Katie Johnson's allegations of
physical and sexual abuse by Defendants Donald J. Trump and Jeffrey E. Epstein. Tiffany Doe was
physically present at each of the four occasions of sexual abuse by Defendant Trump upon the
person of Plaintiff Johnson, as it was her job to witness all of the sexual escapades of Defendant
Epstein's guests at these underage sex parties and later reveal all of the sordid details directly to
Defendant Epstein. Defendant Epstein also demanded that Tiffany Doe tell him personally
everything she had overheard at these parties explaining to her that "knowledge was king" in the
financial world. As a result of these underage sex parties, Defendant Epstein was able to accumulate
inside business knowledge that he otherwise would never have been privy to in order to amass his
huge personal fortune.

20. Material witness Tiffany Doe will testify that she was also present or had direct knowledge
of each of the three instances on which Defendant Jeffrey E. Epstein physically and sexually abused
the Plaintiff, Katie Johnson. Tiffany Doe will testify to the fact that the Plaintiff, Katie Johnson,
was extremely fortunate to have survived all of the physical and sexual horrors inflicted upon her

by Defendants Epstein and Trump.

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CLAIM FOR RELIEF

21. The Plaintiff, Katie Johnson, asks the court for relief against the Defendants, Donald J.
Trump and Jeffrey E. Epstein, in the amount of $100,000,000.00 (One Hundred Million Dollars) as
a result of the Defendants aforementioned acts upon which they willfully and maliciously violated
the Civil Rights of the Plaintiff as stated in 18 U.S.C. ; 2241 by sexually and physically abusing the
then 13 year old Plaintiff Johnson under threat of harm to her and her family, and 42 U.S.C. ; 1985
by the Defendants conspiring to deny the Civil Rights of Plaintiff Johnson by making her their sex

slave.

Dated: April 26, 2016 KATIE JOHNSON

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Plaintiff Katie Jonson

Appearing In Pro Per

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